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 3
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 5   Attorney for Defendant
     MARQUIS ALLEN MECA
 6
 7                       IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,        )              Case No. 1: 10 CR 00462 LJO
                                      )
11          Plaintiff,                )              WAIVER OF PERSONAL APPEARANCE
                                      )              AND ORDER THEREON
12               v.                   )
                                      )               [RULE 43 F.R.Crim.P.]
13   MARQUIS ALLEN MECA,              )
                                      )
14          Defendant.                 )
     _________________________________)               HONORABLE LAWRENCE J. O’NEILL
15
16           Pursuant to Rule 43(b)(3), F.R.Crim.P., Defendant, MARQUIS ALLEN MECA, having
17   been advised of his right to be present at all stages of the proceedings, hereby waives his right to
18   be present in person in open court upon all status conferences and hearings on legal questions.
19   Defendant hereby requests the court to proceed in his absence and agrees that his interests will
20   be deemed represented at all such conferences and hearings by the presence of his attorney,
21   JOHN F. GARLAND. Defendant further agrees to be present in person in court at all future
22   hearing dates at which the defendant’s presence is required by the court, including the date set for
23   jury trial.
24           Defendant makes this request because he resides in Roslindale, MA and the time and
25   expense of travel to Fresno, CA for non-substantive court hearings would cause a personal and
26   financial hardship on the Defendant.
27
28   Dated: December      23   , 2010                             /s/ Marquis Allen Meca
                                                                 MARQUIS ALLEN MECA


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 1            Defendant’s counsel joins in his request for waiver of personal appearance at status
 2   conferences and hearings on legal questions.
 3
 4   Dated: December      23   , 2010                             /s/ John F. Garland
                                                                   JOHN F. GARLAND
 5                                                                 Attorney for Defendant
                                                                 MARQUIS ALLEN MECA
 6
 7
 8                                               ORDER
 9            Good Cause Appearing,
10            Defendant MARQUIS ALLEN MECA’s presence is
11   excused at any and all non-substantive pretrial hearings until further order of the Court.
12
13
14   IT IS SO ORDERED.
15   Dated:      December 23, 2010                    /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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